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                  IN THE UNITED STATES DISTRICT COURT FOR THE;"|'                          on
                                SOUTHERN DISTRICT OF GEORGIA                U.S.^D!STr:[CT COURT
                                       DUBLIN DIVISION                          ACuUS i A 0!V.

VICTOR McRAE,
                                                  "k                        20Z0 SEP 18 P |: 41
                                                  k


            Plaintiff,
                                                  k                      . LEK,:_ J.
                                                                                SO
                                                  ■k
                 V .
                                                  k

                                                  k
TELFAIR COUNTY, GEORGIA; CHRIS
                                 k
STEVERSON, Individually and in
His Official Capacity as Sheriff *
of Telfair County; JOHN and JANE *
                                 k                                    CV 318-077
DOES 1-10 as employees; BOBBY
                                 k
MCLEMORE, Individually and in
                                 k
His Official Capacity as Sheriff
                                 k
of Ben Hill County; BEN HILL
                                 k
COUNTY, GEORGIA; JOHN and JANE
                                 k
DOES 1-10 as employees; LYNN
                                 k
SHEFFIELD,     Individually and
                                 k
in His Official Capacity as
                                 k
Sheriff of Dodge County;
                                 k
JOHN and JANE DOES 1-10, as
                                 k
employees; and DODGE COUNTY,
                                 k
GEORGIA,
                                                  k

                                                  k
            Defendants.



                                              ORDER


            Before the Court are three motions for summary judgment filed

by:    Ben     Hill     County,     Georgia   and      Bobby      McLemore      (doc.      no.   '53) ;

Dodge County, Georgia and Lynn Sheffield (doc. no.                             66) ; and Telfair

County,        Georgia       and Chris   Steverson        (doc.    no.   68}     (collectively.

the    \\
            Moving     Defendants") .      The    Clerk    has     given     Plaintiff       Victor

McRae        notice     of    the   summary      judgment      motions       and     the    summary

judgment rules,           of the right to file affidavits or other materials

in    opposition,         and    the   consequences       of   default.         Therefore,         the
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notice requirements of Griffith v. Wainwright, 772 F.2d 822, 825

(11th Cir. 1985) (per curiam), have been satisfied.                       The motions


have   been    fully    briefed    and    are    ripe    for    decision.     For    the


following reasons, the motions are granted in part.




                                   I.     BACKGROUND

A. General Background

       On or around September 18, 2016, Plaintiff slipped and fell

in the shower at the Telfair County Jail.                   (See McRae Dep., Doc.

No.    54,   at   20-21.)    After       the    fall.    Plaintiff      complained    of

numbness in his leg to jail officials and was transported to the

Dodge County hospital on September 22 and 23, 2016.                       (See id. at

26, 29.)      He received an x-ray which appeared normal, was given a

prescription for Motrin, and released.                  (See Dodge County Hospital

Medical Records, Doc. No. 53-3, at 72-73.)                      Sheriff Steverson's


only interaction with Plaintiff was while Plaintiff was receiving

medical care.       (See McRae Dep. at 28-30.)

       Plaintiff did not return to the Telfair County Jail.                         (See

id. at 33.)       Instead, he was transferred to the Dodge County Jail

to be placed under supervision by medical personnel onsite, where

he was seen by nursing staff on multiple occasions.                       (See id. at

33-34, 46.)

       Following       another    transfer      to   the       Coffee   County   Jail,

Plaintiff was released from Coffee County on October 13, 2016, but


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went straight to the Ben Hill County Jail because of a probation

hold.      (See id. at 47-48.)             In late October of 2016 while at Ben


Hill County Jail, Plaintiff's condition deteriorated, and he was

eventually        airlifted        to     Grady       Memorial           Hospital    in     Atlanta

following treatment at Dorminy Hospital.                          (See id. at 100-01; Grady

Record, Doc. No. 53-8.)                  It was not until his visit to Dorminy

that Plaintiff had contact with Sheriff McLemore.                               (See McRae Dep.

at 101-02. )

        At the time relevant to the litigation, Bobby McLemore was

the Sheriff of Ben Hill County; Lynn Sheffield was the Sheriff of

Dodge    County;      and    Chris       Steverson          was    the    Sheriff      of   Telfair

County.        On   September       14,     2018,          Plaintiff       filed    suit       in    the

Superior Court of Dodge County, Georgia against each Sheriff in

their      individual       and     official          capacities           as   well      as    their

respective counties               among other defendants.                  (See generally Doc.

No. 1. )

        Plaintiff asserts state and federal law claims against the

Moving      Defendants        for        negligence.          negligent         infliction            of

emotional distress, violations of his constitutional rights under

42    U.S.C.   §    1983,     and       failure       to    furnish       medical      care     under

O.C.G.A. §§ 42-5-2, 42-4-4, and 42-4-32.                            (See generally Compl.,

Doc. No. 1-1.)            Beyond the Moving Defendants, the Complaint named

thirty     John     and    Jane    Does       ten      for        each    county.       (See        id.)

Defendants removed to this Court pursuant to 28 U.S.C. §§ 1331 and


                                                  3
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1441.    (See Notice of Removal, Doc. No. 1, at 2-3.)            Certain facts


relevant only to a particular Moving Defendant are set forth in

the following subsections.

B. Telfair County and Sheriff Steverson

        Telfair County pays Dodge County to house and care for its

inmates with medical conditions.             (See Steverson Dep., Doc. No.

70-1, at 15-16.)        Telfair County inmates receiving treatment in

Dodge    County   are   still   considered    Telfair   County    inmates,   and

Telfair County retains control over those inmates.              (See Moon Dep.,

Doc. No. 70-2, at 33-34.)

C. Dodge County and Sheriff Sheffield

        Dodge County contracts with Southern Correctional Medicine to

provide medical care to its inmates.              (See Southern Correctional

Medicine    Agreement,     Doc.    No.   66-4.)     Plaintiff    has   not   sued

Southern     Correctional       Medicine.     Nurse     notes   from   Southern

Correctional Medicine indicate that Plaintiff received extensive

medical observation, examination, and treatment for his numbness

complaints.        (See    generally     Southern     Correctional     Medicine

Records, Doc. No. 66-10.)

        Plaintiff never had personal contact or communication                with

Sheriff Sheffield.        (See McRae Dep. at 64-65.)

D. Ben Hill County and Sheriff McLemore

        Inmates booked into the Ben Hill County Jail go through a two

 part medical screening.          (See Stokes Dep., Doc. No. 55, at 18.)


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First, an officer asks the inmate general questions.                        (See id. at

18-19.)       Second, a member of the medical staff contracted to work

with the Ben Hill County Jail asks more detailed and potentially

confidential questions.             (See id.; Winn Dep., Doc. No. 56, at 13-

14. )    The screening process can take up to three days if an inmate

is booked on a weekend or holiday.                  (See Stokes Dep. at 20.)

        Ben   Hill   County   Jail     policy    sets       out    guidelines     for    the

acceptance of inmates who are in obvious need of medical attention.

and any such inmate must be cleared by a medical provider before

booking.       (See McDonald Dep., Doc. No. 57, at 33-34.)                       Plaintiff

was     booked   into   the   Ben    Hill    County    Jail       on   October   13,    2016

without       medical   clearance         despite     his    medical      questionnaire

stating his need for medical care.                  (See McLemore Dep., Doc. No.

59, at 13-14.) 1        Plaintiff saw a nurse on October 16, 2016, but

did not see a doctor until October 21.                  (McRae Dep. at 97-98.)




                                    II.     JURISDICTION

        On October 18, 2018, this case was removed to this Court on

grounds of both diversity and federal question jurisdiction.                            (See




1 The cover pages of Sheriff McLemore's and James Hudson's
deposition transcripts appear to have been switched, leading to
incorrect docket entries for the respective transcripts. Sheriff
McLemore's transcript is found at doc. no. 59, while Hudson's is
found at doc. no. 63.


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Notice        of    Removal    It    3.)^      No        motion    for       remand    was    filed   by

Plaintiff.           Defendants removing to federal court bear the burden

of establishing jurisdiction.                        See Williams v. Best Buy Co., 269

F.3d 1316, 1319 (11th Cir. 2001) ("We reiterate that the burden of

proving            jurisdiction        lies     with            the     removing        defendant.")

Defendants' Notice of Removal asserts that both federal question

and     diversity          jurisdiction         exist.                While     federal       question

jurisdiction           exists        over   Plaintiff's            Section       1983    claims       for

deliberate indifference to serious medical need, it is not clear

that 28 U.S.C. § 1332's $ 75,000 amount in controversy threshold

is    met      for    diversity       jurisdiction              over    his    state    law    claims.

Williams            provides        guidance         for        district        courts        in   such

circumstances.

        \\
             When    the   complaint        does         not    claim    a    specific       amount    of

damages,        removal from          state    court is           proper       if it is facially

apparent from the complaint that the amount in controversy exceeds
                                                    ft
the jurisdictional requirement.                              Williams, 269 F.3d at 1319.              The

Complaint here does not state a particular damages figure.                                     Instead


it    simply        alleges    (in     terms    familiar           to    Georgia      lawyers)     that

                                \\
damages are measured                 by the enlightened conscience of an impartial

        //
jury.          (See, e.g., Compl. f 126.)



2
  This paragraph states.     This Court has jurisdiction in this
matter on the basis of federal question jurisdiction pursuant to
28 U.S.C. §§ (sic) 1331 and § 1441(b) and on the basis of diversity
                                           //
jurisdiction pursuant to 28 U.S.C. § 1332.

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      If the jurisdictional amount is not facially apparent from

the complaint - as here         the court looks to the notice of removal.

See Williams, 269 F.3d at 1319.              Defendants' Notice of Removal


contains only a conclusory statement that diversity jurisdiction

exists.     (See Notice of Removal SI 3.)      Although the jurisdictional

amount is not \\ facially apparent,
                                    n
                                      it is nonetheless conceivable

that Plaintiff's claims could amount to more or less than $ 75,000.

Therefore, the Parties are invited to submit additional               summary-

judgment-type     evidence rr    regarding    the   amount    in   controversy

threshold.     Williams, 269 F.3d at 1319; see also Dixon v. Whatley

Oil & Auto Parts Co., 2018 WL 4275924, at *3 (M.D. Ga. Sept. 7,

2018); Pitts V. Ram Partners, 2018 WL 5786219, at *8 (M.D. Ala.

Nov. 5, 2018) .

      Lack of service also implicates jurisdiction over the various

Doe Defendants.       The Complaint asserts negligence claims against

the Doe Defendants.        (See Compl.        51-71.)   Apparently, some of

the Doe Defendants were identified during discovery, but Plaintiff

did   not   attempt   to   develop   his   claims   against   them   until   he

responded to the pending motions.^           Plaintiff has not served these

would-be defendants, and the time to do so has passed.               See Fed.

R. Civ. P. 4 (m) (providing 90-day deadline to serve a defendant




3 The Complaint does not describe the Doe Defendants in any
identifiable way; it only states their alleged negligence in the
broadest of terms. (See Compl. M 51-70.)

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absent showing of good cause) .             Neither has Plaintiff amended his

                                                    \\
Complaint to name the Doe Defendants.                    Once a plaintiff has had

an opportunity to ascertain the true name of a John Doe defendant,

the plaintiff must amend the complaint to name the defendant and
                                 //
effect service of process.             Slaughter v. City of Unadilla, 2008

WL 345794, at *3 (M.D. Ga. Feb. 5, 2008) (dismissing claims against

unserved Doe defendants at summary judgment stage) (citing James

V. Mazda Motor Corp. , 222 F.3d 1323, 1324 n.6 (11th Cir. 2000)) .

 Because the . . . Doe defendants have never been properly named

and there has been no service of process, the Court currently has

                                 u
no jurisdiction over them.            Id.

      Because the     statute    of limitations           has     run    on    Plaintiff's

claims    against    all   Doe       Defendants    they          are     dismissed     with

prejudice.    See Seegars v. Adcox, 258 F. Supp. 2d 1370, 1377 (S.D.

Ga.   2002)   (dismissing   claims       against    Doe      defendants          following

failure to serve process within Rule 4's deadline) ; O.C.G.A. § 9-

3-33 (providing two-year limitations period for filing of personal

injury actions).       Apart from dealing with the Doe Defendants on

procedural grounds, ruling is deferred on Plaintiff's state law

claims.




                             III. LEGAL STANDARD

                                                            \\
      Summary judgment is        appropriate       when          there    is   no   genuine

dispute   as to     any material fact         and the      movant is           entitled to
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                                fr                                                     //
judgment as a matter of law.          Fed. R. Civ. P. 56(a) .           A "material

                           \\ affect the outcome of the suit under the
fact is one that could

                                n
governing [substantive] law,         Anderson v. Liberty Lobby, Inc., 477

                                                                \\
U.S. 242, 248 (1986), while a dispute is genuine                     if the nonmoving

party has produced evidence such that a reasonable factfinder could
                                      ff
return a verdict in its favor.                 Waddell v. Valley Forge Dental

Assocs.,   Inc.,   276   F.3d   1275,          1279    (11th   Cir.     2001).       Any

inferences drawn from the facts must be in the light most favorable

to the nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio
                                                                         w
Corp., 475 U.S. 574, 587 (1986), and the Court is to                         resolve all

                                                                                       H
reasonable   doubts about the facts in                favor of the      non-movant.

United States v. Four Parcels of Real Prop., 941 F.2d 1428, 1437

(11th Cir. 1991) (en banc) (citation, internal quotation marks.

and internal punctuation omitted).                The Court may not weigh the

evidence or determine credibility.               Anderson, 477 U.S. at 255.

     The moving party has the initial burden of showing the Court

the basis for its motion by reference to materials in the record.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).                          The movant


may carry its initial burden in different ways depending on who

bears the burden of proof at trial.                   See Fitzpatrick v. City of

Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993) .               When the movant bears

the burden at trial, it must make an affirmative showing of an

absence of a genuine issue of material fact.               See id.      The nonmovant

must then respond with     evidence sufficient to call into question


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the inference created by the movant's evidence on the particular

                 //                                        Id. at 1116.
material fact         to avoid summary judgment.

        When the nonmovant bears the burden of proof at trial the

movant has two options as to how it can carry its initial burden.

Id. at 1115-16.        The movant may demonstrate an absence of evidence

to support the nonmovant's case, or provide affirmative evidence

demonstrating the nonmovant's inability to prove its case at trial.

Id.     The nonmovant must then respond according to the manner used

by    the   movant.       The      nonmovant       must   respond         with     evidence

                                                                f!
sufficient      to    withstand     a     directed    verdict        when        the   movant


provided affirmative evidence.               Id.     When the movant demonstrates

an absence of evidence, the nonmovant may either identify evidence

in the record sufficient to withstand a directed verdict, or the


nonmovant may come forward with additional evidence sufficient to

withstand a directed verdict.               Id. at 1116-17.




                        IV.   DISCUSSION OF FEDERAL CLAIMS

        As an initial note, none of Plaintiff's responses address the

immunity arguments in the Moving Defendants' motions.'*                            Instead,

the     responses     focus   on    the    alleged     actions       of    numerous      now-

identified Doe Defendants.              District courts in the Eleventh Circuit




^ Plaintiff's responses do discuss immunities with respect to some
of the now-identified Doe Defendants, but not the Counties or
Sheriffs.


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have found that       when    a   non-movant fails to             address      a     claim   at

summary judgment but responds to other arguments, the non-movant

abandons the claims.         See Johns v. CSX Transp., Inc., 210 F. Supp.

3d 1357, 1373 (M.D. Ga. 2016) (collecting cases).                      Therefore, where

the Moving Defendants have carried their initial summary judgment

burden and Plaintiff did not respond to their arguments, summary

judgment will be granted.

A. Section 1983 Claims against the Counties and Sheriffs in Their

Official Capacities

I. Sheriffs in Their Official Capacities

      Sheriffs   McLemore,        Steverson,       and       Sheffield   (the "Sheriff

Defendants") assert Eleventh Amendment sovereign immunity against

Plaintiff's    Section      1983 claims       against them         in    their       official

capacities.      Eleventh         Amendment       sovereign       immunity         bars    suit
                                                                                               rr
against   government        officials      acting       as     arms     of    the     State.

Manders   v.   Lee,   338     F.3d   1304,      1308     (11th    Cir.       2003)    (citing

Regents of the Univ. of Cal, v. Doe, 519 U.S. 425, 429-30 (1997)).

The   Eleventh   Circuit      has    set   out    four       factors    for    determining

                                                         \\ arm   of   the     State
                                                                                       n
                                                                                           when
whether   an   entity    or    official      is    an

carrying out a particular function:

      (1) how state law defines the entity; (2) what degree of
      control the State maintains over the entity; (3) where
      the entity derives its funds; and (4) who is responsible
      for judgments against the entity.




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Id. at 1309.     Georgia district courts^ applying these factors to a

sheriff's    provision       of   medical           care    to    inmates    have   come    to

differing conclusions, but recent cases find sovereign immunity

for this function.

        The Middle District of Georgia has had frequent occasion to

address the issue.          In Youngs v. Johnson, 2008 WL 4816731 (M.D.

Ga. Oct. 30, 2008), the court found that the first three Manders

factors    weighed     in   favor    of       treating      a    sheriff's    provision     of

medical care to        inmates      as    a    county      function,      with    the   fourth

factor implicating both the state and county.                          See id. at *7-8 .

It then concluded that the sheriff was not entitled to sovereign

immunity    on   the   plaintiff's        Section          1983   claim     and   denied   the

sheriff summary judgment.                See id. at *8.             This was a standard

conclusion before Lake v. Skelton (Lake I), 840 F.3d 1334 (11th

Cir. 2017), reh'g denied 871 F.3d 1340 (11th Cir. 2017) (en banc).

See, e.g., Lewis v. Whisenant, 2016 WL 4223721 (S.D. Ga. Aug. 09,

2016)    (denying    sovereign      immunity to            Georgia    sheriff for        claim

arising from provision of medical care); Dukes v. Georgia, 428 F.

Supp. 2d 1298 (N.D. Ga. 2006) (same).

        The Middle District returned to the question following the

Eleventh Circuit's decision in Lake I, which held that a Georgia




^ "The issue of whether an entity is an 'arm of the State' for
Eleventh Amendment purposes is ultimately a question of federal
law.    But the federal question can be answered only after
considering provisions of state law." Manders, 338 F.3d at 1308.

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sheriff providing food to inmates acts as an arm of the state and

enjoys sovereign immunity for that function.               See Lake I, 840 F.3d

at 1340-44.      In Palmer v. Correct Care Sols., LLC, 291 F. Supp. 3d

1357 (M.D. Ga. 2017), the Middle District explained that although

the Eleventh Circuit panel in Lake I addressed only the provision

of food, the rationale for its holding would apply equally to the

provision of medical care.           See Palmer, 291 F. Supp. 3d at 1362

("The panel's holding and rationale suggest that it would reach

the    same   conclusion    regarding   a    county     sheriff's   provision   of

medical care . . . to county jail detainees.").                Palmer supported

that interpretation with Judge Martin's dissent from the en banc

decision not to rehear Lake I, in which she stated that under Lake

I,     no person in a county jail will be able to sue his jailer (in

the jailer's official capacity) for damages in federal court, even

where the jailer violated the law by depriving the inmate of . .

. medical care.          See id. (quoting Lake v. Skelton (Lake II), 871

F.3d 1340, 1346 (11th Cir. 2017) (Martin, J., dissenting)) .

        A more recent Middle District decision elaborates on how Lake

I's reasoning leads to sovereign immunity for sheriff's providing

medical care.      See Brooks v. Wilkinson Cnty., 393 F. Supp. 3d 1147,

1159 (M.D.      Ga.   2019) .   As for the      first    Manders    factor.   [the

Eleventh      Circuit]    rejected   Youngs's    position    that    counties   in

Georgia delegate their duties           under   [O.C.G.A. § 42-5-2] to the

county sheriff.        Instead, the Brooks court explained, any duty a


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county sheriff has under [O.C.G.A. § 42-5-2] is directly imposed

                    n
by the State.            Id.        Brooks continues:

         The [Eleventh Circuit] then turned its attention to the
         second Manders factor and concluded that state law vests
         control over the provision of food in the State rather
         than the county. In reaching this conclusion, the Court
         relied on the fact that a State statute guaranteed
         inmates certain minimum standards of access to food
         while   detained.     Georgia   has  similar   statutes
         guaranteeing inmates in jails minimum access to medical
         care.   The final departure from the Youngs decision
         relates to the third Manders factor.   While the Youngs
         court focused on whether the State or county funded the
         function at issue (the provision of medical care) , the
         Lake Court focused on which entity funded the sheriff's
         office generally.  Because the State is responsible for
         funding the sheriff's office, the Lake Court concluded
         that this factor weighed in favor of finding that the
         sheriff was entitled to Eleventh Amendment immunity.


Id. (citations omitted).

         Returning to Palmer, the court conducted a renewed analysis

of the four Manders factors in light of Lake I, but also found it

\\                            rr
     likely sufficient              to rely on the proposition that the provision

of     medical    care    and        food   to   inmates   are    indistinguishable       for

Eleventh Amendment purposes.                     Palmer, 291 F. Supp. 3d at 1362.

         This Court                without input from Plaintiff on the matter

finds      Palmer       and        Brooks   persuasive.          Protected    by   Eleventh

Thnendment       sovereign           immunity     in   their   official      capacities    as

providers of medical care to inmates, the Sheriff Defendants are

entitled to summary judgment.




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2. Counties

        Counties     are   not    liable    under        Section        1983 via       respondeat

superior for deprivations of constitutional rights their employees

commit.       See Seeqars, 258 F. Supp. 2d at 1377 (citing Monell v.

Dep't of Soc. Servs., 436 U.S. 658 (1978)).                             Instead, a plaintiff

                                                                                                      \\ an
must show that his or her rights were violated as                                a result of

official      government     policy,       the     actions         of    an     official       fairly

deemed to represent government policy, or a custom or practice so
                                                                                             //       Id.
pervasive      and   well-settled it          assumes         the       force    of   law.

(quoting Denno v. Sch. Bd. of Volusia Cnty., 218 F.3d 1267, 1276

(11th Cir. 2000),          cert, denied,           531    U.S. 958 (2000)) ;              see also

Camp V. Corr. Med. Servs., Inc., 668 F. Supp. 2d 1338, 1350 (M.D.

Ala. 2009) (stating.             [t]he Eleventh Circuit has articulated three

                                                                                                  H
ways    a   plaintiff      can   meet   his     or   her      burden         under    Monell          and


listing the same three methods).

        With respect to Telfair and Dodge Counties, Plaintiff has not

identified any policy, custom, or                    practice to carry his burden

under Monell.         The only practice Plaintiff mentions is Sergeant

Riddle's       practice      of     providing            copies         of      inmate     medical

documentation to her superior for any inmate she transported to a

medical facility.           (See Doc. No. 74, at 11; Doc. No. 75, at 11-

                                                              \\
12. )       Even   assuming that        practice        was        so   pervasive        and      well-
                                                                    n
settled      it    assume[d]      the   force      of    law[,]          Plaintiff       does         not




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attempt   to    show    how    the   practice        caused   a      deprivation       of   his

constitutional rights.

      Plaintiff does identify an official policy of Ben Hill County,

namely, the policy prohibiting inmates in obvious need of medical

attention from being booked into the jail.                     Plaintiff argues that

he was booked into the Ben Hill County Jail in violation of that

policy because he was unable to walk and incontinent.                             He argues

the   booking    then    led    to   his   languishment           in   the   jail      without

treatment.      However, it was not the policy that caused his injury.

but the   violation of it.®            Plaintiff would            have to establish a


practice or custom of violating the booking policy in order to

survive summary judgment.             He has not done so. and even if the

violation      of the   Ben    Hill   County     Jail     booking        policy     deprived

                                                              \\ \
Plaintiff of his Eighth Amendment rights.                            [p]roof of a single

incident of unconstitutional activity is not sufficient to impose

                                                ft
liability'     against a municipality.                 Craig      v.    Floyd    Cnty., 64 3

F.3d 1306, 1310 (11th Cir. 2011) (quoting City of Qkla. City v.

Tuttle,   471    U.S.   808,    823-24     (1985)) .      In         summary,    the    policy

Plaintiff identifies did not cause his injury, and he has failed

to establish that the actual cause of his injury was an official

policy,   practice,      or     custom.      Therefore,           summary       judgment     is




® After all, the purpose of the booking policy is to ensure inmates
receive medical treatment.


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appropriate against Plaintiff on his Section 1983 claims against

the County Defendants.

B.     Section 1983 Claims against the Sheriffs in Their Individual

Capacities’^

        Plaintiff's         claims    under      Section    1983         against    the   Sheriff

Defendants in          their individual capacities                  are     based    on   alleged

constitutional violations caused by a deliberate indifference to

serious medical need.

        w
            [GJovernment      officials         performing      discretionary         functions

generally are shielded from liability for civil damages insofar as

their conduct does not violate clearly established statutory or

constitutional            rights    of   which     a    reasonable        person     would   have

known."8        Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).                              This


shield is          known as    qualified immunity.                Previously,        Saucier   v.

Katz        required      district       courts    to     first         determine    whether    a

plaintiff has made out a violation of a constitutional right, and
                                                                   \\                           n
second, if so, decide whether the right was                             clearly established.

See    Pearson       v.   Callahan,       555    U.S.    223,     232     (2009)    (discussing

Saucier       v.    Katz,     533    U.S.   194        (2001)).     Now,     Pearson      permits




  Plaintiff does not phrase his individual capacity claims in terms
of supervisory liability, so it is not discussed.

8 Each Count of the Complaint asserting a Section 1983 claim
contains an allegation that the respective Sheriff was acting
within the scope of his discretionary functions. (See Complaint
gil 81, 88, 95. )


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district courts to consider the qualified immunity prongs in the

order    of   their   choosing.          See    id.   at   236.     The   Court      will


nonetheless begin with the question of whether Plaintiff has made

out a violation of a constitutional right.

        In the context of a deliberate indifference to serious medical

                             \\
need violation, not               every claim by a prisoner that he has not

received      adequate      medical    treatment      states   a   violation    of   the

                       "9
Eighth Thnendment.            Estelle V. Gamble, 429 U.S. 97, 105 (1976) .

The Eleventh Circuit has set out three necessary components to a

such a claim.      See Youmans v. Gagnon, 626 F.3d 557, 563 (11th Cir.

2010).     They are:


        (1) a serious medical need; (2) the defendant['s]
        deliberate indifference to that need; and (3) causation
        between that indifference and the plaintiff's injury.


Id.   (quotation      omitted)       (alteration      in   original).     The   second


component is split into another three factors:

        (1) subjective knowledge of a risk of serious harm; (2)
        disregard of that risk; (3) by conduct that is more than
        [gross] negligence.


Id. at 564 (quotation omitted) (alteration in original).




3 "The Fourteenth Amendment governs claims of medical indifference
to the needs of pretrial detainees while the Eighth Amendment
applies to claims of convicted prisoners."    Youmans, 626 F.3d at
563 n.6.   However, the same standard is applied in either case,
and the Eleventh Circuit "consider[s] as precedents cases decided
under either amendment." Id.

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     There is no evidence that any of the Sheriffs had subjective

knowledge   of    a     risk    of    serious       harm    to   Plaintiff.        Sheriff

Sheffield   was       unaware    of    the     reason      for   Plaintiff's       medical

supervision   while      at the       Dodge    County      Jail, and     Telfair    County

officials never communicated with Sheffield regarding Plaintiff's

medical needs.        (See Sheffield Dep., Doc. No. 66-5, at 14-16; Moon

Dep. at 99; Riddle Dep., Doc. No. 66-7, at 89.)                      Sheriff McLemore

likewise lacked subjective knowledge of a risk of serious harm to

Plaintiff; McLemore did not even                   know    Plaintiff was in the Ben

Hill County Jail until he saw Plaintiff just before Plaintiff was

transported to Grady Memorial Hospital.                     Sheriff Steverson's only

interaction      with    Plaintiff      was        while   Plaintiff     was   receiving

medical care.      (See McRae Dep. at 30.)

     Additionally, regardless of Plaintiff's failure to respond to

the qualified immunity arguments, the Court can discern no evidence

on the record that the Sheriff Defendants disregarded any risk of

serious harm or acted with more than gross negligence.                         The record

reflects that Plaintiff received medical care numerous times in

the custody of each Sheriff.            Thus, summary judgment in the Sheriff

Defendants'      favor    is    appropriate          on    Plaintiff's    Section     1983


claims against them in their individual capacities.




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                             V.     CONCLUSION

        Upon the foregoing, the summary judgment motions (doc. nos.

53, 66, 68) are GRANTED IN PART.           Specifically, the Clerk is

DIRECTED to ENTER JUDGMENT on all of Plaintiff’s 42 U.S.C. § 1983

claims.      Plaintiff’s   claims   against   the   Doe   Defendants     are

DISMISSED WITH PREJUDICE.         The Parties are invited to submit

summary-judgment-type evidence regarding the amount in controversy

threshold within twenty-one (21) days of this Order.           Ruling is

DEFERRED on Plaintiff’s state law claims against named Defendants.

        ORDER ENTERED at Augusta, Georgia, this 18th day of September,

2020.

                                         ____________________________
                                         UNITED STATES DISTRICT JUDGE




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